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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

BRONSON D. THOMPSON                                                                    PLAINTIFF

V.                                                  CIVIL ACTION NO. 4:20-CV-123-SA-JMV

UNITED SERVICES AUTOMOBILE ASSOCIATION                                                DEFENDANT


              ORDER DISMISSING ACTION BY REASON OF SETTLEMENT

       The Court was advised that this action was settled or is in the process of being settled.

Therefore, it is not necessary that the action remain on the calendar of the Court.

       IT IS ORDERED that this action is DISMISSED without prejudice. The Court retains

complete jurisdiction to vacate this order and reopen the action upon cause shown that the

settlement has not been completed and further litigation is necessary.

       This the 12th day of August, 2022.

                                                      /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE
